     LANCA QUINTERO
         Case 3:17-mj-04781-AGS                                             Ie"1 of
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      It-IIG(-U) i 1         UNITED STATES DISTRICT COURT                       [~EC-~;~~7 ]
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                                                                         SOUTHERN [)     P T OF :: •• L Fa \''''-I-~
                          SOUTHERN DISTRICT OF CALIFORNIA! BY                                  ____ -!lE~!.
 3
 4 UNITED STATES OF AMERICA,
                                                  Case No.:
 5
                                                              "'~7MJ478'i
                                Plaintiff,
                                                  COMPLAINT FOR VIOLATION OF
 6
           v.
 7                                                Title 21 U.S.C. § 952 and 960
                                                  Importation of a Controlled Substance
 8 Sandra MACIAS,                                 (Felony)
 9                             Defendant.
10~__~__~~__~~~__~~~
11   The undersigned complainant being duly sworn states:

12         On or about December 14, 2017, within the Southern District of California,
13
   defendant, Sandra MACIAS, did knowingly and intentionally import 500 grams and more,
14
15 to wit: approximately 8.68 kilograms (19.13 pounds), of a mixture or substance containing

16 a detectable amount of methamphetamine, a Schedule II Controlled Substance, into the
17
   United States from a place outside thereof, in violation of Title 21, United States Code,
18
19 Sections 952 and 960.

20         The complainant states that this complaint is based on the attached Statement                  0

21
     Facts incorporated herein by reference.
22
23
                                                   ecial Agent James Marshall
24                                               Homeland Security Investigations
25 SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, THIS 15th, DAY
26 OF DECEMBER 2017.                                 .LJ?~
27
28
                                                 l1Slif_              JUDGE


                                                  ANDREW G. SCHOPlER
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      United States of America
                  vs.
 2    Sandra MACIAS
 3

 4
                             PROBABLE CAUSE STATEMENT
 5
            I, Special Agent James Marshall, declare under penalty of perjury, the
 6

 7    following is true and correct:
 8
            On or about December 14, 2017, at approximately 1:20 p.m., defendant
 9

10    Sandra MACIAS, a Lawful Permanent Resident (LAPR), attempted entry into the
II
      United States from Mexico through the Otay Mesa, California, Port of Entry in
12
      primary vehicle lane #7. MACIAS was the driver, sole occupant and registered
13

14    owner of a 2004 Chevy Venture ("the vehicle").
15
            A Customs and Border Protection (CBPO) Canine Enforcement officer
16

17,
      (CEO) along with his assigned NarcoticslHuman Detector Dog (NHDD) were

18    working pre- primary inspection at the Otay Mesa Port of Entry. The NHDD
19
      alerted to a trained odor emanating from the passenger side door. MACIAS
20

21    presented a valid 1-551 and a California driver's license. MACIAS made two

22    negative customs declarations and stated she was traveling to· Los Angles,
23
      California. The CBPO referred the vehicle to the secondary inspection area for a
24

25    more intensive inspection.
26

27

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                                             1
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           A CBPO working the Z-portal screened the vehicle and observed anomalies

 2   in both rear doors of the vehicle.
 3
           A CBPO conducted a secondary inspection of the vehicle.              During the
 4

 5   secondary inspection, the CBPO discovered a total of 15 packages from the Driver

 6   and passenger Sliding rear doors. The CBPO probed one of the packages which
 7

 8
     contained a white crystalline substance that field-tested positive for the properties

 9   of methamphetamine.
10
           The combined weight of the 15 packages of methamphetamine was
11

12   approximately 8.68 kilograms (19.13 pounds).
13
           During a post Miranda statement MACIAS stated her boyfriend is involved
14
     in narcotics smuggling. MACIAS stated today her boyfriend instructed her to take
15

16   the vehicle to a specific parking lot and leave the keys with the parking lot
17
     attendant and not return for at least three hours. MACIAS stated approximately
18

19   three weeks ago her boyfriend was paid $1400 USD for her to drive the vehicle

20   into the United States and give it to an unidentified associate at a gas station in Los
21
     Angeles, California.
22

23         MACIAS was arrested and charged with violation of Title 21, United States
24
     Code, 952 and 960, Importation of a Controlled Substance.
25

26

27

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                                                2
